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 1                                                               The Honorable Richard A. Jones
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                                UNITED STATES DISTRICT COURT FOR THE
 6
                                  WESTERN DISTRICT OF WASHINGTON
 7                                          AT SEATTLE
 8
      UNITED STATES OF AMERICA,                             NO. CR16-171RAJ
 9
                                 Plaintiff,
                                                            ORDER GRANTING MOTION TO SEAL
10
                           v.                               SENTENCING MEMORANDUM
11
      RICARDO GERARDO-GALLARDO,
12
                                 Defendant.
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14
             This matter comes before the Court on the motion of the United States to seal its
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     Sentencing Memorandum as to Defendant Ricardo Gerardo-Gallardo (Dkt. # 64).
16
     Defendant has made a similar motion as to his sentencing submission – nether party has
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     any objection to the other’s request.
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             Having reviewed both motions, as well as the memoranda themselves, being
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     otherwise fully advised, and finding good cause, it is hereby
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             ORDERED that the Government’s Motion to Seal (Dkt. #66) is GRANTED. The
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     Government’s sentencing memorandum, filed under Dkt. # 64, shall be sealed due to the
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     sensitive material contained therein, and is not permitted to be publicly available.
23
             DATED this 27th day of January, 2017.
24
25
26
                                                       A
                                                       The Honorable Richard A. Jones
27                                                     United States District Judge
28
     Order Granting U.S. Motion to Seal - 1                                     UNITED STATES ATTORNEY
                                                                               700 STEWART STREET, SUITE 5220
     Gerardo-Gallardo, CR16-171RAJ                                               SEATTLE, WASHINGTON 98101
                                                                                       (206) 553-7970
